Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 1 of 18 PAGEID #: 1

AO 91 (Rev. 11/11) Criminal Complaint eLPed
poe baka ate 4
44 mee ft Per des
UNITED STATES DISTRICT COURT = SES oF Sas
‘orithe TOT JUL 20. PH A UT
Southern District of Ohio eee yey
US. BISTECT CUR
United States of America ) SOUTHERN GIST. GiiO
v. ) gg ‘OLLIMBUS
Christopher VOLDEN CaseNo. 2°21 m | ¥)
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 07/14/2021 in the county of Franklin in the
Southem District of Chio , the defendant(s) violated:
Code Section Offense Description
21 USC Section 841 Possession with Intent'to distribute LSD and MDMA
21 USC Section 846 Conspiracy to manufacture, distribute, possess with intent to distribute LSD
and MDMA

This criminal complaint is based on these facts:

See attached affidavit, which is incorporated by reference.

wf Continued on the attached sheet.

2 Ae

Complainant's signature

TFO Andrew Wueriz
Prinied name and title

Sworn to before me and signed in my presence. GM ISEME lity FRAP 4 | (4) (2)(A) .

Date: 7/20/2924 Lb)
, , Judge 'sSignat:
AJ- ry - 4G,
City and state: ‘Columbus, Ohio , US. Magistrate Judge

Print name dnd title

Kk

Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 2 of 18 PAGEID #: 2

AFFIDAVIT
I, Andrew Wuertz, being duly sworn, state:

INTRODUCTION

1. I am a Task Force Officer with the DEA and have been since May of 2010. I am
assigned to the Central Ohio Cyber Drug Task Force (COCDTF) in Columbus, Ohio, where I
am is responsible for conducting narcotics investigations involving dark web
marketplaces. Prior to becoming a Task Force Officer, I have been employed as an Upper
Arlington Police Officer for 24 years. While working with the DEA, I was assigned to the
COCDTF with other law enforcement agencies targeting drug and weapon shipments
purchased off the internet. As a Task Force Officer, I am authorized to investigate violations
of the laws of the United States and to execute warrants issued under the authority of the
United States. Since working with the DEA, I have been involved in narcotics-related
arrests, executed search warrants that resulted in the seizure of narcotics, and participated in
narcotics investigations. Through training and experience, I am familiar with the manner in
which persons involved in the illicit distribution of controlled substances often operate. In
particular, I am aware that drug traffickers often communicate with their customers, couriers,
and/or associates through the use of standard hardline telephones, and cellular telephones, or
use of multiple telephones or other devices, to avoid detection by law enforcement.

2. I have participated in and conducted numerous investigations of violations of

various state and federal criminal laws, including violations of Title 21 United States Code,

PURPOSE OF AFFIDAVIT
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 3 of 18 PAGEID #: 3

3. I am participating in an investigation concerning an organized group of known
and unknown individuals who are suspected of involvement in criminal offenses against the
United States, namely, to manufacture, distribute or dispense a controlled substance, in violation
of 21 U.S.C. § 841 and 21 U.S.C. § 846.

4, The information set forth in this affidavit is based upon my knowledge, training,
experience, and participation in investigations involving the smuggling, possession,
distribution, and storage of narcotics and narcotics proceeds. This information is also based
on the knowledge, training, experience, and investigations conducted by fellow law
enforcement officers, who have reported to me either directly or indirectly. I believe this
information to be true and reliable. I know according to the Federal Analogue Act, 21 U.S.C.
§ 813 any chemical substantially similar to a controlled substance listed in Schedule I or II of
the Drug Enforcement Administration’s (DEA) Controlled Substance Schedule is to be treated
as if it were listed in Schedule I, if intended for human consumption. I know is it is a violation
of 21 U.S.C. § 841 to manufacture, distribute or dispense a controlled substance and a violation
of 21 U.S.C. § 846 to attempt or conspire to manufacture, distribute or dispense a controlled
substance.

5. The information contained in this affidavit is based upon my personal
participation in this investigation, information obtained from other agents and detectives
assisting in this investigation, and my review of records, documents, and other material
relating to this investigation.

6. Because this affidavit is being submitted for the limited purpose of securing
criminal complaints and arrest warrants, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts that I believe are necessary to
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 4 of 18 PAGEID #: 4

establish probable cause to believe that Christopher VOLDEN violated 21 U.S.C. § 841 and

21 USS.C. § 846.

BACKGROUND ON THE DARK WEB & CRYPTOCURRENCY

7, Based on my training, research, education, and experience, I am familiar with the
following relevant terms and definitions:

a. The “dark web” is a portion of the “deep web!” of the Internet, where
individuals must use an anonymizing software or application called a “darknet” to access
content and websites. Within the dark web, criminal marketplaces operate, allowing
individuals to buy and sell illegal items, such as drugs, firearms, and other hazardous
materials, with greater anonymity than is possible on the traditional Internet (sometimes
called the “clear web” or simply the “web”). These online market websites use a variety of
technologies, including the Tor network (defined below) and other encryption
technologies, to ensure that communications and transactions are shielded from
interception and monitoring. Famous dark web marketplaces (“DWM’s”), also called
Hidden Services, such as Silk Road 1, Silk Road 2, AlphaBay, and Hansa (all of which
have since been shut down by law enforcement), operated similarly to clear web
commercial websites such as Amazon and eBay, but offered illicit goods and services.
When law enforcement shut down the four DWM’s listed above, they also obtained images
of their servers, and law enforcement has been able to mine the data from those sites for

information about the customers and vendors who used them.

1 The deep web is the portion of the Internet not indexed by search engines. Examples are databases and
internal networks belonging to private industry, government agencies, or academic institutions.

3
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 5 of 18 PAGEID #: 5

b. “Vendors” are the dark web’s sellers of goods and services, often of an illicit
nature, and they do so through the creation and operation of “vendor accounts” on dark
web marketplaces. Customers, meanwhile, operate “customer accounts.” Vendor and
customer accounts are not identified by numbers, but rather monikers or “handles,” much
like the username one would use on a clear web site. If a moniker on a particular
marketplace has not already been registered by another user, vendors and customers can
use the same moniker across multiple marketplaces, and based on seller and customer
reviews, can become well known as “trusted” vendors or customers. It is also possible for
the same person to operate multiple customer accounts and multiple vendor accounts at the
same time. For example, based on my training and experience, I know that one person
could have a vendor account that he or she uses to sell illegal goods on a dark web
marketplace in exchange for cryptocurrency; that same vendor could also have a different
customer account that he or she uses to exchange cryptocurrency earned from vendor sales
for fiat currency”. Because they are separate accounts, a person could use different
accounts to send and receive the same cryptocurrency on the dark web. I know from
training and experience that one of the reasons dark web vendors have multiple monikers
for different vendor and customer accounts, is to prevent law enforcement from identifying
which accounts belong to the same person, and who the actual person is that owns or uses
the accounts.

c. The “Tor network,” or simply “Tor” (an abbreviation for “The Onion

Router”), is a special network of computers on the Internet, distributed around the world,

? Fiat currency is currency created and regulated by a government such as the U.S. Dollar, Euro, or Japanese
Yen.
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 6 of 18 PAGEID #: 6

designed to conceal the true Internet Protocol (“IP”) addresses of the computers accessing
the network, and, thereby, the locations and identities of the network’s users. Tor also
enables websites to operate on the network in a way that conceals the true IP addresses of
the computer servers hosting the websites, which are referred to as “hidden services” on
the Tor network. Such hidden services operating on Tor have complex web addresses,
generated by a computer algorithm, ending in “.onion” and can only be accessed through
specific web browser software, including a browser known as “Tor Browser,” designed to
access the Tor network. Examples of hidden services websites are the aforementioned
AlphaBay and Hansa. Tor is available on cellphones using the Android and Apple
operating systems by installing an application that puts a TOR-enabled internet browser on
a user’s cellphone, which then routes the phone’s IP address through different servers all
over the world, making it extremely difficult to track.

d. Cryptocurrency, a type of virtual currency, is a decentralized, peer-to peer,
network-based medium of value or exchange that may be used as a substitute for fiat
currency to buy goods or services or exchanged for fiat currency or other cryptocurrencies.
Examples of cryptocurrency are Bitcoin, Litecoin, and Ether. Cryptocurrency can exist
digitally on the Internet, in an electronic storage device, or in cloud-based servers.
Although not usually stored in any physical form, public and private keys (described
below) used to transfer cryptocurrency from one person or place to another can be printed
or written on a piece of paper or other tangible object. Cryptocurrency can be exchanged
directly person to person, through a cryptocurrency exchange, or through other
intermediaries. Generally, cryptocurrency is not issued by any government, bank, or

company; it is instead generated and controlled through computer software operating on a
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 7 of 18 PAGEID #: 7

decentralized peer-to-peer network. Most cryptocurrencies have a “blockchain,” which is
a distributed public ledger, run by the decentralized network, containing an immutable and
historical record of every transaction.? Cryptocurrency is not illegal in the United States.
e€. Bitcoin* (“BTC”) is a type of cryptocurrency. Payments or transfers of
value made with bitcoin are recorded in the Bitcoin blockchain and thus are not maintained
by any single administrator or entity. As mentioned above, individuals can acquire bitcoin
through exchanges (1.e., online companies which allow individuals to purchase or sell
cryptocurrencies in exchange for fiat currencies or other cryptocurrencies), bitcoin ATMs,
or directly from other people. Individuals can also acquire cryptocurrencies by “mining.”
An individual can “mine” bitcoins by using his/her computing power to solve a
complicated algorithm and verify and record payments on the blockchain. Individuals are
rewarded for this task by receiving newly created units of a cryptocurrency. Individuals
can send and receive cryptocurrencies online using many types of electronic devices,
including laptop computers and smart phones. Even though the public addresses of those
engaging in cryptocurrency transactions are recorded on a blockchain, the identities of the
individuals or entities behind the public addresses are not recorded on these public ledgers.
If, however, an individual or entity is linked to a public address, it may be possible to
determine what transactions were conducted by that individual or entity. Bitcoin
transactions are therefore sometimes described as “pseudonymous,” meaning that they are

partially anonymous. And while it’s not completely anonymous, Bitcoin allows users to

3 Some cryptocurrencies operate on blockchains that are not public and operate in such a way to obfuscate
transactions, making it difficult to trace or attribute transactions.

4 Since Bitcoin is both a cryptocurrency and a protocol, capitalization differs. Accepted practice is to use
“Bitcoin” (singular with an uppercase letter B) to label the protocol, software, and community, and
“bitcoin” (with a lowercase letter b) to label units of the cryptocurrency. That practice is adopted here.

6
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 8 of 18 PAGEID #: 8

transfer funds more anonymously than would be possible through traditional banking and
credit systems.

fe Cryptocurrency is stored in a virtual account called a wallet. Wallets are
software programs that interface with blockchains and generate and/or store public and
private keys used to send and receive cryptocurrency. A public key or address is akin to a
bank account number, and a private key is akin to a PIN number or password that allows a
user the ability to access and transfer value associated with the public address or key. To
conduct transactions on a blockchain, an individual must use the public address (or “public
key”) and the private address (or “private key.”) A public address is represented as a case-
sensitive string of letters and numbers, 26—25 characters long. Each public address is
controlled and/or accessed through the use of a unique corresponding private key - the
cryptographic equivalent of a password or PIN - needed to access the address. Only the
holder of an address’ private key can authorize any transfers of cryptocurrency from that
address to another cryptocurrency address.

g. Although cryptocurrencies such as Bitcoin have legitimate uses,
cryptocurrency is also used by individuals and organizations for criminal purposes such as
money laundering and is an oft-used means of payment for illegal goods and services on
hidden services websites operating on the Tor network. By maintaining multiple wallets,
those who use cryptocurrency for illicit purposes can attempt to thwart law enforcement’s
efforts to track purchases within the dark web marketplaces. As of July 13, 2021, one
bitcoin is worth approximately $32,000.00, though the value of bitcoin is generally much

more volatile than that of fiat currencies.
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 9 of 18 PAGEID #: 9

h. Exchangers and users of cryptocurrencies store and transact their
cryptocurrency in a number of ways, as wallet software can be housed in a variety of forms,
including on a tangible, external device (“hardware wallet”), downloaded on a PC or laptop
(“desktop wallet”), with an Internet-based cloud storage provider (“online wallet”), as a
mobile application on a smartphone or tablet (“mobile wallet”), printed public and private
keys (“paper wallet”), and as an online account associated with a cryptocurrency exchange.
Because these desktop, mobile, and online wallets are electronic in nature, they are located
on mobile devices (¢.g., smart phones or tablets) or at websites that users can access via a
computer, smart phone, or any device that can search the Internet. Moreover, hardware
wallets are located on some type of external or removable media device, such as a USB
thumb drive or other commercially available device designed to store cryptocurrency (e.g.
Trezor, Keepkey, or Nano Ledger). In addition, paper wallets contain an address and a QR
code? with the public and private key embedded in the code. Paper wallet keys are not
stored digitally. Wallets can also be backed up into, for example, paper printouts, USB
drives, or CDs, and accessed through a “recovery seed” (random words strung together in
a phrase} or a complex password. Additional security safeguards for cryptocurrency
wallets can include two-factor authorization (such as a password and a phrase). J also know
that individuals possessing cryptocurrencies often have safeguards in place to ensure that
their cryptocurrencies become further secured in the event that their assets become
potentially vulnerable to seizure and/or unauthorized transfer.

i. Bitcoin “exchangers” and “exchanges” are individuals or companies that

exchange bitcoin for other currencies, including U.S. dollars. According to the Department

* A QR code is a matrix barcode that is a machine-readable optical label.

8
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 10 of 18 PAGEID #: 10

of Treasury, Financial Crimes Enforcement Network (“FinCEN”) Guidance issued on
March 18, 2013, virtual currency administrators and exchangers, including an individual
exchanger operating as a business, are considered money services businesses.° Such
exchanges and exchangers are required to register with FinCEN and have proper state
licenses (if required under applicable state law). From my training and experience, I know
that registered money transmitters are required by law to follow Bank Secrecy Act anti-
money laundering (“AML”) regulations, “Know Your Customer” (“K YC”) protocols, and
other verification procedures similar to those employed by traditional financial institutions.
For example, FinCEN-registered cryptocurrency exchangers often require customers who
want to open or maintain accounts on their exchange to provide their name, address, phone
number, and/or the full bank account and routing numbers that the customer links to his/her
exchange account. As a result, there is significant market demand for illicit
cryptocurrency-for-fiat currency exchangers, who not only lack AML or KYC protocols
but often advertise their ability to offer customers stealth and anonymity. These illicit
exchangers often exchange fiat currency for cryptocurrencies, such as by meeting
customers in person or by shipping fiat currency through the mail. Due to the illicit nature
of these transactions and their customers’ desire for anonymity, such exchangers are
frequently able to charge a higher exchange fee, often as high as 9-10% (in contrast to
registered and BSA-compliant exchangers, who may charge fees as low as 1-2%).

8. Some companies offer cryptocurrency wallet services which allow users to download a

digital wallet application onto their smart phone or other digital device. A user typically accesses

6 See “Application of FinCEN’s Regulations to Person Administering, Exchanging, or Using Virtual
Currencies,” available at https://www.fincen.gov/resources/statutes-regulations/guiadance/application-
fincens-regulations-persons-administering.
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 11 of 18 PAGEID #: 11

the wallet application by inputting a user-generated PIN code or password. Users can store,
receive, and transfer cryptocurrencies via the application; however, many of these companies do
not store or otherwise have access to their users’ funds or the private keys that are necessary to
access users’ wallet applications. Rather, the private keys are stored on the device on which the
wallet application is installed (or any digital or physical backup private key that the user creates).
As a result, these companies generally cannot assist in seizing or otherwise restraining their users’
cryptocurrency. Nevertheless, law enforcement could seize cryptocurrency from the user’s wallet
directly, such as by accessing the user’s smart phone, accessing the wallet application, and
transferring the cryptocurrency therein to a law enforcement-controlled wallet. Alternatively,
where law enforcement has obtained the recovery seed for a wallet (see above), investigators may
be able to use the recovery seed phrase to recover or reconstitute the wallet on a different digital
device and subsequently transfer cryptocurrencies held within the new wallet to a law

enforcement-controlled wallet

FACTS ESTABLISHING PROBABLE CAUSE
SUMMARY OF THE INVESTIGATION

9. In early December, 2019, investigators from the Central Ohio Cyber Drug Task Force
(COCDTF) identified a dark web drug vendor operating under the moniker “INSTRUMENT.”
Information gathered from the dark web indicated that “INSTRUMENT” was active on several
marketplaces advertising sales of various controlled substances that would be shipped to and
from the United States. Investigators learned that in July of 2019, a drug task force in
Sacramento, California, made an undercover (UC) purchase over the dark web from

“INSTRUMENT” of approximately one gram of methylenedioxy-methamphetamine (MDMA).

10
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 12 of 18 PAGEID #: 12

10. Between December 2019 and May 2020, COCDTF investigators in Columbus, Ohio,
made four UC purchases off the dark web marketplace “Empire” from “INSTRUMENT.” The
purchases included 25 dosage units of lysergic acid diethylamide (LSD) on December 12, 2019;
five grams of MDMA on December 22, 2019; five dosage units of LSD on April 23, 2020; and
five grams of MDMA on May 4, 2020. Each order took approximately one week to arrive in
Columbus, and were sent via United States Postal Service (USPS) from different return
addresses in the Minneapolis/St.Paul, Minnesota area.

11. In February of 2021, while conducting blockchain analysis on seized market place
data associated with “INSTRUMENT,” COCDTE investigators identified 127 transactions
originating in INSTRUMENT's dark web vendor wallets that were sent to BitPay.com.

12. On February 26, 2021, COCDTF investigators sent a subpoena to
Subpoenas@BitPay.com requesting all information associated with the transactions. On March
11, 2021, BitPay responded with a spreadsheet identifying 129 transactions, consisting of a total
of 95.371032 bitcoin valued at approximately $43,400.11 at the time of the transactions. The
spreadsheet identified the following transactions:

e Five transactions between March 9, 2014 through April 18, 2014 for approximately
$6,693.96 sent to BtcTrip, a website that is no longer in existence, but a clear web search

indicates it was a website designed to allow users to buy plane tickets using bitcoin.

e 105 transactions between February 24, 2014 through March 28, 2015 for approximately
$24,592.62 sent to Gyft Inc., a website that allows you to buy, send, and redeem gift cards for

over 200 different retailers.

e One transaction on December 07, 2014 for approximately $35.01 sent

to Namecheap.com, a website that allows users to buy internet domains (website addresses).

11
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 13 of 18 PAGEID #: 13

* 17 transactions between April 29, 2014 through June 17, 2014 for approximately
$12,067.56 sent to SnapCard, which allowed users to pay with bitcoin at online retailers that
don't officially accept cryptocurrency. The company has since been purchased by Wyre, a

payment service.

e Ohne transaction on July 8, 2014 for approximately $10.96 sent to Warner Bros. Records.

The transaction had a buyer's email address listed as Chris. Volden@gmail.com.

13. On March 15, 2021, investigators sent a subpoena to LegalPapers@Fiserv.com

regarding any information on the 105 transactions conducted on Bitpay.com to Gyft, Inc. On
April 6, 2021 Fiserv responded with a spreadsheet identifying 165 transactions, worth
approximately $33,113.37, belonging to the same user account, identified by Gyft ID 76900276-
6043-4ce8-89b0-d9211aa90090. The account listed three email addresses,
Chris. Volden@gmail.com, Chris@pbellslabradors.com, and Zaneisgreat@lelantos.org. All gift
cards purchased were marked "self-gifted" and for big box retailers, restaurants and
entertainment services. Investigators know it is common for Darknet Vendors to cash out their
bitcoin in the form Gift Cards to avoid detection and report requirements from banks and law
enforcement. Gyft, Inc. also listed the IP Addresses used during each transaction. A search of the
IP address locations shows the transactions were conducted in, Saint Paul, Minnesota; Chicago,
Illinois; Volin, South Dakota; and New York, New York; with the majority being conducted in
Saint Paul, Minnesota.

14. A law enforcement database search of the email address

Chris. Volden@gmail.com identified the user as Christopher Bryan VOLDEN with a date of birth

of July 1, 1985, A public records check of VOLDEN listed his address as 4733 Bouleau Road,

White Bear Lake, Minnesota, a suburb of Saint Paul. The prior UC drug buys from

12
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 14 of 18 PAGEID #: 14

INSTRUMENT revealed all the packages were shipped from the Minneapolis/Saint Paul,
Minnesota area.

15. Investigators also learned from Homeland Security Investigations (HSI) New York
that VOLDEN was being investigated in 2013 for selling bitcoin to a known dark web market
vendor on the marketplace “Silk Road.” At the time, HSI New York identified VOLDEN's
moniker as POLYGAMUS and POLYGAMUZ. A U.S. Customs and Border Protection
Database query revealed VOLDEN was the subject of three seizures, including 17.5 grams of
LSD in 2016, 3.3 grams of cocaine in 2013, and 107 grams of MDMA in 2013.

16. Investigators also learned that on February 19, 2013, VOLDEN was arrested by Saint
Paul Police Department (SPPD) for selling synthetic narcotics. VOLDEN admitted to SPPD that
he and his girlfriend, Angela WHEELER, sold numerous controlled substance over the internet,
specifically on “Silk Road” marketplace. VOLDEN explained that he had started the business
and made the initial orders of their products, and WHEELER often helped him by
sending/receiving orders of controlled substances through the mail. A check of VOLDEN's
criminal history confirmed the SPPD arrest, but not a conviction. Investigators believe VOLDEN
or WHEELER switched the dark web moniker from POLYGAMUS to INSTRUMENT after the
arrest.

17. On May 6, 2021, COCDTF investigators sought and received authorization for a
federal search warrant on the Google account Chris. Volden@gmail.com. On May 11, 2021,
Google provided the requested information associated with that account. While analyzing the
records from Google, COCDTF investigators identified various other email addresses in contact
with VOLDEN, including Wheelera66@gmail.com. In VOLDEN’s account,

Wheelera66@gmail.com is attributed to Angela WHEELER, his known girlfriend. Also, in a

13
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 15 of 18 PAGEID #: 15

Google chat that took place on March 28, 2021, the user of Wheelera66@gmail.com identified
themselves as Angela WHEELER.

18. Later in May 2021, COCDTF investigators made two additional UC purchases off the
dark web marketplace “White House Market” from “INSTRUMENT.” The purchases included
10 dosage units of LSD on May 11, 2021; and 50 dosage units of LSD on May 20, 2021.
Following the May 11 purchase, investigators on surveillance followed VOLDEN to a United
States Postal Service (USPS) drop box, and recovered an envelope with the same shipping
address in Columbus that was used during the UC transaction. The envelope was photographed,
repackaged, and forwarded to COCDTF investigators in Columbus. Also recovered from the
same USPS drop box were thirteen (13) other envelopes matching the envelope from the UC
purchase. Those envelopes were addressed to different names and addresses in multiple states
including New York, Georgia, Florida, Colorado, Alabama, Oregon, Pennsylvania, Oklahoma,
and other states. All of the envelopes had the same or a similar return address that the UC
purchase letter had printed on it. Following the May 20 purchase, investigators on surveillance
saw VOLDEN and WHEELER leave their home together in the late afternoon, but did not see
them stop at a USPS drop box and were unable retrieve an envelope. COCDTF investigators,
however, received the order in Columbus on May 26, 2021, that was post marked in Saint Paul,
Minnesota, by USPS on May 20, 2021. USPIS investigators advised COCDTF investigators that
the letter would have had to have been mailed before 6:00 PM CST on May 20 in order to be
post marked on May 20. COCDTF investigators believe VOLDEN and WHEELER dropped the
order in a mailbox when they were together and out of view of investigators on surveillance.

19. Law enforcement sources in Minnesota confirmed for investigators that neither

VOLDEN nor WHEELER have any known employment history for the last five years. However,

14
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 16 of 18 PAGEID #: 16

in the search warrant information for VOLDEN’s Google account, there were documents
indicating VOLDEN paid approximately $578,000.00 in March 2021 for the home he shares
with WHEELER.

20. On June 9, 2021, COCDTF investigators learned that VOLDEN and WHEELER
would be traveling to Mexico with plans to leave on June 12, 2021. An update to the
“INSTRUMENT” vendor profile on White House Market appeared on June 10, 2021, stating,
“Gone fishing. I will return with a fully stocked menu in 3-4 weeks, maybe sooner. All orders
placed with me will still get full attention. Awaiting orders will be sent on time. I do not intend
on answering many messages from people without orders during my restocking period. Thanks
everyone for always being awesome. The empathogen crowd is legendary.” Subsequently, all of
the “for sale” listings on the “INSTRUMENT” profile on White House Market were taken down.

21, | VOLDEN and WHEELER returned to Minnesota on June 23, 2021. Investigators on
surveillance observed them being picked up at the Minneapolis St. Paul airport and being driven
home to 4733 Bouleau Road, White Bear Lake, Minnesota. The following day, the
“INSTRUMENT” vendor profile on White House Market was updated again stating, “I’m
slowly opening listings. Shipping will resume Saturday, June 26. I have a handful of messages
to catch up on, Please be patient. Thank you!

22, On July 14, 2021, at approximately 2:00 AM investigators made two (2) separate UC
purchases from “INSTRUMENT” on the dark web marketplace “White House Market”. One
order was for 450 milligrams of MDMA, and the other was for five (5) dosage units of LSD. A
request was made to “INSTRUMENT” to combine the orders if possible in one package to save
on shipping costs. The address and name provided to “INSTRUMENT?” to mail the order to was

Brandon Walker, P.O. Box 92, Hilliard, Ohio 43026. On July 14, 2021, at approximately 4:29

15
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 17 of 18 PAGEID #: 17

PM investigators in Minnesota observed a 2013 blue Dodge Avenger (registration plate
415RCE) known to be utilized by VOLDEN leave his residence located at 4733 Bouleau Road,
White Bear Lake, MN. Investigators were able to follow the vehicle to a United States Post
Office located at 1056 Highway 96 East, Saint Paul, MN, where the vehicle drove to the area of
the blue USPS collection box located in the parking lot. The blue Dodge Avenger promptly left
the parking lot after driving past the collection boxes, at which time investigators identified the
driver as being VOLDEN. VOLDEN drove directly back to his residence on Bouleau Road after
leaving the Post Office. Investigators were assisted by USPS employees to open the collection
boxes and recovered nine (9) letters similar in appearance to letters send by VOLDEN during
previous UC purchases. One of the letters was addressed to Brandon Walker, P.O. Box 92,
Hilliard, Ohio 43026, which was seized by the investigators. The investigators opened the letter
at the DEA Minneapolis District Office, and found it to contain two separate foil like pouches.
On pouch contained a small plastic zip lock baggie with brown granular substance inside which
subsequently tested positive for MDMA using a field test kit, and the other pouch contained a

piece of perforated paper, which subsequently tested positive for LSD.

23. Due to the evidence provided above, it is believed that Christopher VOLDEN is the head
of the “INSTRUMENT” Drug Trafficking Organization (DTO).

24. This summation does not include all duties of the DTO members and is only meant to
serve as a general outline. It is the belief of investigators that the duties of the DTO members

change with the needs of the organization.

CONCLUSION
25, Based on the foregoing facts, I believe that there is probable cause that
Christopher VOLDEN is attempting and conspiring to manufacturing, distributing or

16
Case: 2:21-mj-00478-NMK Doc #: 1 Filed: 07/20/21 Page: 18 of 18 PAGEID #: 18

dispensing a controlled substance, in violation of 21 U.S.C. § 841 and 21 U.S.C. §846.
Accordingly, I request the issuance of a criminal complaint and arrest warrant for
Christopher VOLDEN..

26. | further request that due to the ongoing nature of this investigation, the
application, search warrant, and this affidavit be sealed until further ordered of the Court in

order to avoid premature disclosure of the fact of this investigation and the information

contained in this affidavit.
} fo CEs
Task Force Officer Andrew Wuertz
Drug Enforcement Administration
fe |
Subscribed and sworn to before me this 2 0 ~ day of | Uiy , 2021.

mststeut with FREP 4.1 (b)(2)(A) J

United States Judge

17
